CaS€ 8-17-77838-38'[ DOC 24 Filed 04/18/18 Entered 04/18/18 14220:08

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April 13, 2018

U.S. Banlcruptcy Court

290 Federal Plaza

Central ISlip, NY 11722

Attn: Chambers, Hon. Alan S. Trust

Re: 40 Carleton Avenue Corp.
Case No. 817-77838-ast

Dear Sirs:

Please allow this letter to confirm that the Status Conference in the above referenced case
has been adjourned to June 6, 2018 at 11:30 a.rn.

If you have any questions, please feel free to call me.

Very truly gomez/7

,I'*"

‘Aa;nond \V@rdi, Jr.
RWV:Sb

